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      Guidelines for Implementation of the Common Patent Policy for
                          ITU-T/ITU-RlISOIIEC


                                                               (1 March 2007)




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Part I - Common guidelines
1       Purpose

lTU, in its Telecommunication Standardization Sector (ITU-T) and its Radiocommunication Sector
(ITU-R), ISO and IEC have had patent policies for many years, the purpose being to provide in
simple words practical guidance to the participants in their Technical Bodies in case patent rights
matters arise.

Considering that the technical experts are normally not familiar with the complex issue of patent
law, the Common Patent Policy for ITU-T/ITU-R/ISO/IEC (hereafter referred to as the "Patent
Policy") was drafted in its operative part as a checklist, covering the three different cases which
may arise if a Recommendation I Deliverable requires licences for Patents to be practiced or
implemented, fully or partly.

The Guidelines for Implementation of the Common Patent Policy for lTU-TIITU-R/ISO/IEC
(hereafter referred to as the "Guidelines") are intended to clarify and facilitate implementation of
the Patent Policy, a copy of which can be found in Annex 1 and also on the web site of each
Organization.

The Patent Policy encourages the early disclosure and identification of Patents that may relate to
Recommendations I Deliverables under development. In doing so, greater efficiency in standards
development is possible and potential patent rights problems can be avoided.

The Organizations should not be involved in evaluating patent relevance or essentiality with regards
to Recommendations I Deliverables, interfere with licensing negotiations, or engage in settling
disputes on Patents; this should be left - as in the past - to the parties concerned.

Organization-specific provisions are contained in Part II of this document. However, it is
understood that those Organization-specific provisions shall contradict neither the Patent Policy nor
the Guidelines.

2        Explanation of temts

Contribution: Any document submitted for consideration by a Technical Body.

Free of charge: The words "free of charge" do not mean that the Patent Holder is waiving all of its
rights with respect to the essential patent. Rather, "free of charge" refers to the issue of monetary
compensation; i. e., that the Patent Holder will not seek any monetary compensation as part of the
licensing arrangement (whether such compensation is called a royalty, a one-time licensing fee,
etc.). However, while the Patent Holder in this situation is committing to not charging any
monetary amount, the Patent Holder is still entitled to require that the implementer of the above
document sign a license agreement that contains other reasonable terrns and conditions such as
those relating to governing law, field of use, reciprocity, warranties, etc.

Organizations: lTU, ISO and IEC.

Patents: Patents refer to essential patents or similar rights, utility models and other statutory rights
based on inventions, including any applications for any of the foregoing.




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Patent Holder: Person or entity that owns, controls and/or has the ability to license Patents.

Reciprocity: As used herein, the word "reciprocity" means that the Patent Holder shall only be
required to license any prospective licensee if such prospective licensee will commit to license its
essential patent(s) or essential patent claim(s) for implementation of the same above document free
of charge or under reasonable terms and conditions.

Recommendations I Deliverables: ITU-T and ITU-R Recommendations are referred to as
"Recommendations", ISO deliverables and lEe deliverables are referred to as "Deliverables". The
various types ofRecommendation(s) I Deliverable(s) are referred to as "Document types" in the
Patent Statement and Licensing Declaration Form (hereafter referred to as "Declaration Form")
attached as Annex 2.

Technical Bodies: Study Groups, any subordinate groups and other groups ofITU-T and lTU-R
and technical committees, subcommittees and working groups in ISO and lEe.

3       Patent disclosure

As mandated by the Patent Policy in its paragraph 1, any party participating in the work of the
Organizations should, from the outset, draw their attention to any known patent or to any known
pending patent application, either their own or of other organizations.

In this context, the words "from the outset" imply that such information should be disclosed as early
as possible during the development of the Recommendation I Deliverable. This might not be
possible when the first draft text appears since at this time, the text might be still too vague or
subject to subsequent major modifications. Moreover, that information should be provided in good
faith and on a best effort basis, but there is no requirement for patent searches.

In addition to the above, any party not participating in Technical Bodies may draw the attention of
the Organizations to any known Patent, either their own and/or of any third-party.

"''hen disclosing their own Patents, Patent Holders have to use the Patent Statement and Licensing
Declaration Form (referred to as the "Declaration Form") as stated in Section 4 of these Guidelines.

Any communication drawing the attention to any third-party Patent should be addressed to the
concerned Organization(s) in writing. The potential Patent Holder will then be requested by the
relevant Organization(s) to submit a Declaration Form.

The Patent Policy and these Guidelines also apply to any Patent disclosed or dravm to the attention
of the Organizations subsequent to the approval of a Recommendation I Deliverable.

Whether the identification of the Patent took place before or after the approval of the
Recommendation I Deliverable, if the Patent Holder is unwilling to license under paragraph 2.1 or
2.2 of the Patent Policy, the Organizations will promptly advise the Technical Bodies responsible
for the affected Recommendation I Deliverable so that appropriate action can be taken. Such action
will include, but may not be limited to, a review of the Recommendation I Deliverable or its draft in
order to remove the potential conflict or to further examine and clarify the technical considerations
causing the conflict.




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4       Patent Statement and Licensing Declaration Form

4.1    The purpose ofthe Declaration Form

To provide clear information in the Patent Information databases of each Organization, Patent
Holders have to use the Declaration Form, which is available on the web site of each Organization
(the Declaration Form is included in Annex 2 for information purposes). They must be sent to the
Organizations for the attention, for ITU, of the Directors of the TSB or the BR or, for ISOIlEC, of
the CEOs. The purpose of the Declaration Form is to ensure a standardized submission to the
respective Organizations of the declarations being made by Patent Holders and, most importantly,
to require in the case ofITU, and to strongly desire in the case ofISO and IEC, supporting
information and an explanation if a Patent Holder declares hislher unwillingness to license under
option 1 or 2 of the Declaration Form (i.e., declares option 3 of the Declaration Form).

The Declaration Form gives Patent Holders the means of making a licensing declaration relative to
rights in Patents required for implementation of a specific Recommendation I Deliverable.
Specifically, by submitting this Declaration Form the submitting party declares its
willingness/unwillingness to license, according to the Patent Policy, Patents held by it and whose
licence would be required to practice or implement partes) or all of a specific Recommendation I
Deliverable.

The statement contained in the Declaration Form remains in force as long as it has not been
replaced, e.g., in case of obvious errors.

Multiple Declaration Forms are appropriate if the Patent Holder has identified several Patents and
classifies them in different options of the Declaration Form and/or if the Patent Holder classifies
different claims of a complex patent in different options of the Declaration Form.

4.2    Contact information

In completing Declaration Forms, attention should be given to supplying contact information that
will remain valid over time. Where possible, the "Name and Department" and e-mail address
should be generic. Also it is preferable, where possible, that parties, particularly multinational
organizations, indicate the same contact point on all Declaration Forms submitted.

With a view to maintaining up-to-date information in the Patent Information database of each
Organization, it is requested that the Organizations be informed of any change or corrections to the
Declaration Form submitted in the past, especially with regard to the contact person.

5       Conduct of meetings

Early disclosure of Patents contributes to the efficiency of the process by which Recommendations I
Deliverables are established. Therefore, each Technical Body, in the course of the development of a
proposed Recommendation I Deliverable, will request the disclosure of any known Patents essential
to the proposed Recommendation I Deliverable.

Chairmen of Technical Bodies will, if appropriate, ask, at an appropriate time in each meeting,
whether anyone has knowledge of Patents, the use of which may be required to practice or
implement the Recommendation I Deliverable being considered. The fact that the question was
asked shall be recorded in the meeting report, along with any affirmative responses.




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As long as the Organization concerned has received no indication of a Patent Holder selecting
paragraph 2.3 of the Patent Policy, the Recommendation I Deliverable may be approved using the
appropriate and respective rules of the Organization concerned. It is expected that discussions in
Technical Bodies will include consideration of including patented material in a Recommendation I
Deliverable, however the Technical Bodies may not take position regarding the essentiality, scope,
validity or specific licensing terms of any claimed Patents.

6       Patent Information database

In order to facilitate both the standards-making process and the application of Recommendations I
Deliverables, each Organization makes available to the public a Patent Information database
composed of information that was communicated to the Organizations by the means of Declaration
Forms. The Patent Information database may contain information on specific Patents, or may
contain no such information but rather a statement about compliance with the Patent Policy for a
particular Recommendation I Deliverable.

The Patent Information databases are not certified to be either accurate or complete, but only reflect
the information that has been communicated to the Organizations. As such, the Patent Information
databases may be viewed as simply raising a flag to alert users that they may wish to contact the
entities who have communicated Declaration Forms to the Organizations in order to determine if
patent licenses must be obtained for use or implementation of a particular Recommendation I
Deliverable.

Part II - Organization-specific provisions
Specific provisions for lTV

ITV-l       General Patent Statement and Licensing Declaration Form

Anyone may submit a General Patent Statement and Licensing Declaration Form which is available
on the web sites ofITU-T and ITU-R (the form in Annex 3 is included for information purposes).
The purpose of this form is to give Patent Holders the vohmtaI}' option of making a general
licensing declaration relative to material protected by Patents contained in any of their
Contributions. Specifically, by submitting its form, the submitting party declares its willingness to
license all Patents owned by it in case partes) or all of any proposals contained in its Contributions
submitted to the Organization are included in Recommendation(s) and the included partes) contain
items that have been patented or for which patent applications have been filed and whose licence
would be required to practice or implement Recommendation(s).

The General Patent Statement and Licensing Declaration Form is not a replacement for the
"individual" (see clause 4 of Part I) Declaration Form, which is made per Recommendation, but is
expected to improve responsiveness and early disclosure of the Patent Holder's compliance with the
Patent Policy.

The General Patent Statement and Licensing Declaration remains in force as long as it has not been
replaced. It can be overruled by the "individual" (per Recommendation) Declaration Form from the
same Patent Holder for any particular Recommendation (expectation is that this will rarely occur).

The lTV Patent Information database also contains a record of General Patent Statement and
Licensing Declarations.




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ITU-2        Notification

Text shall be added to the cover sheets of all new and revised ITU-T and ITV-R Recommendations,
where appropriate, urging users to consult the ITU Patent Information database. The wording is:

"ITU draws attention to the possibility that the practice or implementation of this Recommendation
may involve the use of a claimed Intellectual Property Right. ITU takes no position concerning the
evidence, validity or applicability of claimed Intellectual Property Rights, whether asserted by lTV
members or others outside of the Recommendation development process.

As of the date of approval of this Recommendation, ITU [hadlhad not] received notice of
intellectual property, protected by patents, which may be required to implement this
Recommendation. However, implementers are cautioned that this may not represent the latest
information and are therefore strongly urged to consult the ITU Patent Information database."

Specific provisions for ISO and lEe

ISO/IEC-l      Consultations on draft Deliverables

All drafts submitted for comment shall include on the cover page the following text:

        "Recipients ofthis draft are invited to submit, with their comments, notification of any
        relevant patent rights of which they are aware and to provide supporting documentation."

ISO/IEC-2      Notification

A published document for which no patent rights are identified during the preparation thereof': shall
contain the following notice in the foreword:

        "Attention is drawn to the possibility that some of the elements of this document may be the
        subject of patent rights. ISO [and/or] IEC shall not be held responsible for identifying any or
        all such patent rights."

A published document for which patent rights have been identified during the preparation thereof,
shall include the following notice in the introduction:

        "The International Organization for Standardization (ISO) [and/or] International
        Electrotechnical Commission (IEC) draws attention to the fact that it is claimed that
        compliance with this document may involve the use of a patent concerning (. .. subject
        matter. .. ) given in ( ... subclause ... ).

        ISO [and/or] IEC take[s] no position concerning the evidence, validity and scope of this
        patent right.

        The holder of this patent right has assured the ISO [and/or] IEC that he/she is willing to
        negotiate licences under reasonable and non-discriminatory terms and conditions with
        applicants throughout the world. In this respect, the statement of the holder of this patent
        right is registered with ISO [and/or] IEC. Information may be obtained from:




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        name of holder of patent right ...

         address ...

    Attention is drawn to the possibility that some of the elements of this document may be the
    subject of patent rights other than those identified above. ISO [and/or] lEe shall not be held
    responsible for identifying any or all such patent rights."




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                                             ANNEXl

                    COMMON PATENT POLICY FOR lTU-T/lTU-RJISO/IEC

The following is a "code of practice" regarding patents covering, in varying degrees, the subject
matters ofITU-T Recommendations, ITU-R Recommendations, ISO deliverables and IEC
deliverables (for the purpose of this document, lTU-T and lTU-R Recommendations are referred to
as "Recommendations", ISO deliverables and IEC deliverables are referred to as "Deliverables").
The rules of the "code of practice" are simple and straightforward. Recommendations I Deliverables
are drawn up by technical and not patent experts; thus, they may not necessarily be very familiar
with the complex international legal situation of intellectual property rights such as patents, etc.

Recommendations I Deliverables are non-binding; their objective is to ensure compatibility of
technologies and systems on a worldwide basis. To meet this objective, which is in the common
interests of all those participating, it must be ensured that Recommendations I Deliverables, their
applications, use, etc. are accessible to everybody.

It follows, therefore, that a patent embodied fully or partly in a Recommendation I Deliverable must
be accessible to everybody without undue constraints. To meet this requirement in general is the
sole objective of the code of practice. The detailed arrangements arising from patents (licensing,
royalties, etc.) are left to the parties concerned, as these arrangements might differ from case to
case.

This code of practice may be summarized as follows:

1        The ITU Telecommunication Standardization Bureau (TSB), the ITU Radiocommunication
Bureau (BR) and the offices of the CEOs ofISO and IEC are not in a position to give authoritative
or comprehensive information about evidence, validity or scope of patents or similar rights, but it is
desirable that the fullest available information should be disclosed. Therefore, any party
participating in the work of ITU, ISO or IEC should, from the outset, draw the attention of the
Director ofITU-TSB, the Director ofITU-BR, or the offices ofthe CEOs ofISO or IEC,
respectively, to any known patent or to any known pending patent application, either their own or of
other organizations, although ITU, ISO or IEC are unable to verify the validity of any such
information.

2       If a Recommendation I Deliverable is developed and such information as referred to in
paragraph 1 has been disclosed, three different situations may arise:

2.1     The patent holder is willing to negotiate licences free of charge with other parties on a non-
discriminatory basis on reasonable terms and conditions. Such negotiations are left to the parties
concerned and are performed outside ITU-T/ITU-RJISOIIEC.

2.2     The patent holder is willing to negotiate licences with other parties on a non-discriminatory
basis on reasonable terms and conditions. Such negotiations are left to the parties concerned and are
performed outside ITU-T/ITU-RJISOIIEC.

2.3     The patent holder is not willing to comply with the provisions of either paragraph 2.1 or
paragraph 2.2; in such case, the Recommendation I Deliverable shall not include provisions
depending on the patent.




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3         Whatever case applies (2.1, 2.2 or 2.3), the patent holder has to provide a written statement
to be filed at ITU-TSB, lTU-BR or the offices of the CEOs ofISO or lEC, respectively, using the
appropriate "Patent Statement and Licensing Declaration" Form. This statement must not include
additional provisions, conditions, or any other exclusion clauses in excess of what is provided for
each case in the corresponding boxes of the form.




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                                                          ANNEX 2

     PATENT STATEMENT AND LICENSING DECLARATION FORM FOR ITU-T/ITU-R




                                                                =
                  RECOMMENDATION I ISOIIEC DELIVERABLE


                  e                Patent Statement and Licensing Declaration
                                                                                                             II
                            for ITV- TIITV-R Recommendation I ISO/IEC Deliverable

                               This declaration does not represent an actual grant of a license

Please return to the relevant organization(s) as instructed below per document type:

 Director                          Director                           Secretary-General                General Secretary
 Telecommunication                 Radiocommunication Bureau          International Organization for   International Electrotechnical
 Standardization Bureau            International Telecommunication    Standardization                  Commission
 International Telecommunication   Union                              I chemin de 1. Voie-Creuse       3 rue de VaremhO
 Union                             Place des Nations                  CH-1211 Geneva 20                CH-121I Geneva 20
 Place des Nations                 CH-I211 Geneva 20,                 Switzerland                      Switzerland
 CH-1211 Geneva 20,                Switzerland                        Fax: +41 22 7333430              Fax: +41 229190300
 Switzerland                       Fax: +41 22 730 5785               Email:                           Email:
 Fax: +41 227305853                Email: brmail@itu.int              patent.staternents@i,o.Ol'g      inmaii(Q)lec.ch
 Email: ts bdir0iitu.int

 Patent Holder:
 Legal Name
 Contact for license application:
 Name &
 Department
 Address

 Tel.
 Fax
 E-mail
 URL (optional)
 Document type:
101 ITV-T Rec. (*) 101 ITV-R Rec.                 (*)            101 ISO Deliverable (*) 101 IEC Deliverable (*)
 ~se return the form to the relevant Organization)

 o  Common text or twin text (ITV-T Rec. I ISO/IEC Deliverable (*» (for common text or twin text,
 fear return the form to each of the three Organizations: ITU-T, ISO, IEC)
 o    ISOIIEC Deliverable (*) (for ISO/lEe Deliverables, please return the form to both ISO and lEC)
 (*)Number
 (*)Title




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 Licensing declaration:
 The Patent Holder believes that it holds granted and/or pending applications for patents, the use of which would
 be required to implement the above document and hereby declares, in accordance with the Common Patent
 Policy for ITU-T/ITU-RlISO/IEC, that (check one box only):

             L        The Patent Holder is prepared to grant a free of charge license to an unrestricted number of
            applicants on a worldwide, non-discriminatory basis and under other reasonable terms and conditions
            to make, use, and sell implementations of the above document.
            Negotiations are left to the parties concerned and are performed outside the lTU-T, ITU-R, ISO or
            IEC.
            Also mark here _ if the Patent Holder's willingness to license is conditioned on reciprocitv for the
            above document.
                   Also mark here _ if the Patent Holder reserves the right to license on reasonable terms and
                   conditions (but not free ofcharge) to applicants who are only willing to license their patent
                   claims, whose use would be required to implement the above document, on reasonable terms
                   and conditions (but not free ofcharf!e).
            2.        The Patent Holder is prepared to grant a license to an unrestricted number of applicants on a
            worldwide, non-discriminatory basis and on reasonable terms and conditions to make, use and sell
            implementations of the above document.
            Negotiations are left to the parties concerned and are performed outside the ITU-T, ITU-R, ISO, or
            IEC.
            Also mark here _ if the Patent Holder's willingness to license is conditioned on reciprocitv for the
            above document.

 D          3.
            2 above.
                      The Patent Holder is unwilling to grant licenses in accordance with provisions of either I or

            In this case, the following information must be provided to lTU, and is strongly desired by ISO and
            IEC, as part of this declaration:
            - granted patent number or patent application number (if pending);
            - an indication of which portions of the above document are affected;
            - a description of the patent claims covering the above document.
 Free of charge: The words "free of charge" do not mean that the Patent Holder is waiving all of its rights with
 respect to the essential patent. Rather, "free of charge" refers to the issue of monetary compensation; i. e., that
 the Patent Holder will not seek any monetary compensation as part of the licensing arrangement (whether such
 compensation is called a royalty, a one-time licensing fee, etc.). However, while the Patent Holder in this
 situation is committing to not charging any monetary amount, the Patent Holder is still entitled to require that
 the implementer of the above document sign a license agreement tllat contains other reasonable terms and
 conditions such as those relating to governing law, field of use, reciprocity, warranties, etc.
 Reciprocity: As used herein, the word "reciprocity" means that the Patent Holder shall only be required to
 license any prospective licensee if such prospective licensee will commit to license its essential patent(s) or
 essential patent c1aim(s) for implementation of the same above document free of charge or under reasonable
 terms and conditions.
 Signature:
 Patent Holder
 Name of authorized person
 Title of authorized person
 Signature
 Place, Date

FORM: I March 2007




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 Patent Information (desired but not required for options 1 and 2; required in ITU for option 3 (NOTE))




 No.           Status               Country        Granted Patent Number                          Title
                                                             or
         [granted! pending]                        Application Number (if
                                                          pending)
  1


  2


  3




NOTE: For option 3, the additional minimum in/ormation that shall also be provided is listed in
the option 3 box above.




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                                                      ANNEX 3

   GENERAL PATENT STATEMENT AND LICENSING DECLARATION FORM FOR ITU-
                       T/lTU-R RECOMMENDATION

                                                           lTV
                                            International Telecomm unication Union




                                                         ~
                         General Patent Statement and Licensing Declaration

                                    for ITV-Til TV-R Recommendation

                           This declaration does not represent an actual grant of a license

Please return to the relevant bureau:

 Director                                                              Director
 Telecommunication Standardization Bureau                              Radiocommunication Bureau
 International Telecommunication Union                                 International Telecommunication Union
 Place des Nations                                                     Place des Nations
 CH-1211 Geneva 20,                                                    CH-1211 Geneva 20,
 Switzerland                                                           S wi tzerland
 Fax: +41 227305853                                                    Fax: +41 22 730 5785
 Email: tsbdirrccitu.int                                               Email: bnnailr{i)itu.int


 Patent Holder:
 Legal Name
 Contact for license application:
 Name &
 Department
 Address

 Tel.
 Fax
 E-mail
 URL (optional)




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 Licensing declaration:

 In case partes) or all of any proposals contained in Contributions submitted by the Patent Holder above are
 included in ITU-TIITU-R Recommendation(s) and the included partes) contain items that have been patented or
 for which patent applications have been filed and whose use would be required to implement lTU -TIITU -R
 Recommendation(s), the above Patent Holder hereby declares, in accordance with the Common Patent Policy
 for lTU-T/lTU-RlISOIIEC (check one box only):

          1.       The Patent Holder is prepared to grant a free of charge license to an umestricted number of
          applicants on a worldwide, non-discriminatory basis and under other reasonable terms and conditions
          to make, use, and sell implementations of the relevant ITU -T/lTU -R Recommendation.

          Negotiations are left to the parties concerned and are performed outside the lTU-TIITU-R

          Also mark here _ if the Patent Holder's willingness to license is conditioned on reciprocity jar the
          above ITU- TIITU-R Recommendation.

              Also mark here _ if the Patent Holder reserves the right to license on reasonable terms and
              conditions (but not tree o[charge) to applicants who are only willing to license their patent
              claims, whose use would be required to implement the above lTU-TllTU-R Recommendation, on
              reasonable terms and conditions (but not free ofchafJ!e).
          2.      The Patent Holder is prepared to grant a license to an unrestricted number of applicants on a
          worldwide, non-discriminatory basis and on reasonable terms and conditions to make, use and sell
          implementations of the relevant ITU-T/lTU-R Recommendation.

          Negotiations are left to the parties concerned and are performed outside the ITU-TIITV-R.

           Also mark here _ if the Patent Holder's Willingness to license is conditioned on reciprocity jor the
           above ITU-TIITU-R Recommendation.
Free of charge: The words "free of charge" do not mean that the Patent Holder is waiving all of its rights with
respect to the essential patent. Rather, "free of charge" refers to the issue of monetary compensation; i. e., that
the Patent Holder will not seek any monetary compensation as part of the licensing arrangement (whether such
compensation is called a royalty, a one-time licensing fee, etc.). However, while the Patent Holder in this
situation is committing to not charging any monetary amount, the Patent Holder is still entitled to require that
the implementer of the ITU-T/ITU-R Recommendation sign a license agreement that contains other reasonable
terms and conditions such as dlOse relating to governing law, field of use, reciprocity, warranties, etc.

Reciprocity: As used herein, the word "reciprocity" means that the Patent Holder shall only be required to
license any prospective licensee if such prospective licensee will commit to license its essential patent(s) or
essential patent claim( s) for implementation of the same lTV -TIITU -R Recommendation free of charge or
under reasonable terms and conditions.
Signature:
Patent Holder
Name of authorized person
Title of authorized person
Signature
Place, Date

FORM: I March 2007




                                                                                  MOTM WASH1823 0053643
